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 7
                                     UNITED STATES DISTRICT COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 9
      UNITED STATES OF AMERICA,
10
                             Plaintiff,
11                                                                  CASE NO. CR02-374C
              v.
12
                                                             ORDER TO CONTINUE PRE-TRIAL
      CARLOS GARIBAY DEL TORO,                               MOTIONS DEADLINE AND TRIAL DATE.
13
                             Defendant.
14

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17          This matter having come before the Court on the Defendant’s Motion to Continue the Pre-Trial

18   Motions Deadline from September 8, 2005 to October 27, 2005, and to continue the trial date from

19   October 17, 2005 to November 28, 2005, and the Court having considered the arguments presented by

20   all parties, together with the balance of the records and files herein, This Court now finds as follows:

21          The defendant has been indicted on one count of Conspiracy to Distribute Cocaine, Heroin, and
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     Methamphetamine and one count of Possession of Heroin with Intent to Distribute. He faces a
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     mandatory minimum of 10 years in prison with a maximum of life in prison.
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26   ORDER – 1
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 1           The discovery provided to the defense thus far is significantly voluminous and it is necessary for

 2   the defense to thoroughly review the discovery with the defendant in order to prepare an effective
 3
     defense. The current motions cut-off date is September 8, 2005 and the current trial date is October 17,
 4
     2005.
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             The new proposed dates of October 27, 2005 for the motions cut-off deadline and November 28,
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     2005 for the trial date do not appear to prejudice any party, including the Government. Additionally, the
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     proposed dates appear to serve the interests of justice. The defendant is in agreement with the proposed
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     dates as he has signed a speedy trial waiver through December 15, 2005.
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             Accordingly, IT IS HEREBY ORDERED THAT:
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11           The Pre-Trial Motions Cut-Off date shall be extended to October 27, 2005, with a new trial date

12   of November 28, 2005.

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14           SO ORDERED this 15th day of September, 2005.
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20                                                         John C. Coughenour

21                                                         United States District Judge
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26   ORDER – 2
